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                        IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH



     UNITED STATES OF AMERICA,
                                              INDICTMENT
                         Plaintiff,           VIOS.
                                              COUNTS 1-13, 18 U.S.C. § 1343, WIRE
     v.                                       FRAUD;
                                              COUNTS 14, 15, 49 U.S.C. § 46306(b)(7),
                                              OPERATING AS AN AIRMAN
     MATTHEW JONES,                           WITHOUT AN AIRMAN CERTIFICATE;
                                              COUNT 16, 49 U.S.C. § 46306(b)(4),
                        Defendant.            REGISTRATION VIOLATIONS
                                              INVOLVING AIRCRAFT.




                                                   Case: 2:22-cr-00287
                                                   Assigned To : Barlow, David
                                                   Assign. Date: 8/9/2022



          The Grand Jury charges:

                   I.       THE SCHEME AND ARTIFICE TO DEFRAUD

At all times relevant to this Indictment:

1.        The defendant, Matthew Jones (JONES) was a resident of West Valley City, Utah.



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2.      On or about November 2, 20221, JONES, J.G., J.W., created Lyfted, LLC, for the

purpose of providing helicopter pilot certification and dual flight instruction, pleasure trips,

Aerial photography, Sight-seeing tours Aerial surveys and Animal spotting. JONES

represented himself to be the owner and operator ofLyfted LLC and a Certified Flight

Instructor (CFI) in fixed-winged aircraft and helicopters. A joint credit card account was

obtained in J.G.'s and JONES' names for use and purchases of the business.

3.      Beginning in or around November 2, 2021, and continuing until on or about

December 28, 2021, JONES was involved in a scheme and artifice to defraud J.G., and

J.W., to obtain money by means of false and fraudulent pretenses, representations,

promises, and omissions of material fact.

4.     On December 29, 2021, JONES signed a lease agreement with Touchstones

Helicopters, based in Los Angeles, California, to lease a 2005 Robinson R44 Helicopter

(N544SC).

5.     On December 29, 2021, JONES and J.G., traveled to the Gaitlinburg Pigeon Forge

Airport located in Sevierville, TN, to pick up the 2005 Robinson R44 Helicopter

(N544SC). Against advice from local grounds personnel, JONES piloted the 2005

Robinson R44 Helicopter (N544SC), crashing the helicopter into the mountain killing J.G

with JONES suffering serious bodily injury and paralysis.

6.     It was the object of the scheme and artifice to defraud for JONES to obtain money

from J.G., and J.W. through false statements, misrepresentations, deception, and omissions

of material facts, and false pretenses, in that JONES falsely represented himself to be a

Certified Flight Instructor, CFI, and a certified pilot in helicopters and fix-wing aircraft

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 authorized to provide training, flight instruction, flights, transportation via fixed-winged

aircraft and certification through the Federal Aviation Administration (FAA).

7.       In so doing, JONES used text messaging, email and Instagram in representing

himself to be a CFI, thereby causing interstate wire communications.

8.       In furtherance of the scheme, JONES and N.M. entered into an agreement to

provide N.M, flight instructions to become a certified pilot. Jones indicate to N.M. that he

was a CFI and provided flight instruction to N.M. on 3-4 occasions.

9.       It was further a part of the scheme and artifice to defraud that the representations

described above were material, that is, they had a natural tendency to influence, or were

capable of influencing, the decisions of the persons or entities to whom they were

addressed.

10.     On November 2, 2021, JONES posted on his Facebook page an advertisement

looking for twenty people interested in flying to the Sundance Film Festival in Park City,

Utah. Y.B. responded to the advertisement and requested that Jones fly Y.B. and her

friends to the Sundance Film Festival. Text messages were exchanged whereby JONES

offered to fly Y.B. and her friends for $600.00. Y.B. ultimately decided not to hire JONES

because, "something seemed off."

11.     JONES also had contact with R.R., owner of Randon Aviation, a flight school and

aircraft rental business. R.R. provided that he has known JONES for at least four years.

JONES represented himself to R.R. as a CFI in fixed-winged aircraft and helicopters. R.R.

stated that JONES rented airplanes from him on 3-4 occasions. R.R. stated he flew with



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JONES as a passenger on 3-4 occasions. R.R. confirmed that JONES rented and flew fixed-

wing aircraft from Randon Aviation by himself on several occasions.

12.      FAA records confirm that JONES has never been approved to pilot fixed-wing

aircraft and that JONES is not a certified pilot in fixed-winged aircraft. FAA records confirm

that JONES is not a CFI in any aircraft.

13.      In October 2021, JONES approached R.R. stating he was interested in starting a

helicopter school and sight-seeing tours.

14.     R.R. verified that JONES rented a flew a fixed-wing Piper Cherokee aircraft

(N32544) on November 28, 2021, and flew to Wendover, Utah with a passenger identified

as J.G. JONES is not a licensed pilot for fixed-wing aircraft.

15.     Veterans Affairs medical records provide that JONES received a 20 percent

disability rating for having seizures. Medical records provide that JONES suffered a stroke

on June 30, 2020.

16.     FAA requires the completion of a medical packet application to ensure pilots are

medically able to fly. In December 2021, JONES electronically submitted to the U.S.

Department of Transportation, FAA medical office a MedXpress application and Medical

Certification. JONES failed to disclose his history of seizures, stokes and marijuana usage.

17. According to FAA regulations a medical history of seizures an4 strokes would

disqualify a pilot from flying and obtaining a pilot's license. JONES failed to disclose his

medical conditions to J.G., J.W., R.R., insurance company or the FAA.




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                                        COUNTS 1-13
                                       18 U.S.C. § 1343
                                         (Wire Fraud)

18.      The allegations set forth in paragraphs 1-17, are incorporated herein by reference and

re-alleged as though fully set forth herein.

19.      On or about each of the dates set forth below, in the District of Utah and elsewhere,

                                    MATTHEW JONES,

the defendant herein, for the purpose of executing, and attempting to execute, the scheme

and artifice to defraud J.G., N.M, Y.B, and J.W. as described above, and to obtain money .

and property by means of false and fraudulent pretenses, representations and promises,

did cause to be transmitted in interstate commerce by means of wire communication

certain writings, signs, and signals, each such use of wire communications being a

separate count of this Indictment, all in Violation of Title 18, United States Code, Section

1343.



        Count           Date                        Use of Interstate Means
          1        November 2,         Online application for L YFT, L.L.C. for Air
                   2021                Transportation
         2         December 29         Emailed lease agreement to Touchstone
                   2021                Helicopters. Faxed Exhibit A Delivery and
                                       Acceptance Certificate for Helicopter Lease
                                       Agreement
         3         December 10,        Emailed insurance questionnaire omitting his
                   2021                stroke and seizure conditions
         4         December 6,         Electronically submitted Medical Certification to
                   2021                FAA. Omitted seizure, stroke, disability
                                       determination, and mar~juana use



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          5        November 2,          Advertisement on Facebook offering air
                   2021                 transportation to Sundance Film Festival, Park
                                         City, Utah
          6        November 3,          Text messages to Y.B. offering air transportation
                   2021                 via fixed wing aircraft to Park City, Utah,
                                         Sundance Film Festival
          7        July 28, 2021        Text message to N.M. regarding flight instruction
                                        and declaring to be a CFI
          8        June 21, 2021        Text message to N.M. regarding flight instruction
                                        and education
          9        June 14, 2021        Text message to N.M. confirming class time and
                                        flight instruction
         10        June 12, 2021        Text message to N.M. confirming price and
                                        payment method for flight instruction
         11        June 11, 2021        Text message to N.M. from JONES declaring
                                        receipt of First Class Flight Medical
         12        May 26, 2021         Text message to N.M. flight instruction and
                                        training
         13        May 12, 2021         Text message to N.M. for cost per hour for flight
                                        instruction and CFI instruction



                                         COUNT 14
                                   49 U.S.C. § 46306(b)(7)
                  ( Operating as an Airman without an Airman Certificate)

20.     The allegations set forth in paragraphs 1-17, are incorporated herein by reference and

re-alleged as though fully set forth herein.

21.     On or about May 12, 2021, through December 28, 2021, in the District of Utah and

elsewhere,

                                   MATTHEW JONES,

the defendant herein, did knowingly and willfully serve and attempt to serve in any capacity

as an airman, that is a pilot and certified Flight Instructor (CFI), without an airman's




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certificate issued by the Administrator of the Federal Aviation Administration (FAA),

authorizing him to serve in that capacity, all in violation of 49 U.S.C. § 46306(b)(7).


                                        COUNT 15
                                 49 U.S.C. § 46306(b )(7)
            (Operating an Aircraft as an Airman without an Airman Certificate)

16.     The allegations set forth in paragraphs 1-17, are incorporated herein by reference and

re-alleged as though fully set forth herein.

17.     On or about November 28, 2021, in the District of Utah and elsewhere,

                                    MATTHEW JONES,

the defendant herein, did knowingly and willfully serve and attempt to serve in any

capacity as an airman, that is operated a fixed-wing aircraft without an airman's

certificate issued by the Administrator of the Federal Aviation Administration (FAA),

authorizing him to serve in that capacity, all in violation of 49 U.S.C. § 46306(b)(7).


                                         COUNT 16
                                   49 U.S.C. § 46306(b)(4)
         (Registration Violations Involving Aircraft not Proving Air Transportation

16.     The allegations set forth in paragraphs 1-17, are incorporated herein by reference and

re-alleged as though fully set forth herein.

17.     On or about December 6, 2021, in the District of Utah and elsewhere,

                                   MATTHEW JONES,

the defendant herein, did intentionally obtain and cause to be obtained a certificate

authorized to be issued under Title 49, United States Code, Section 44103, and Federal


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Aviation Administration regulation Title 14 CFR § 61.23 (a)(3)(i), that is, a Medical

Certificate First Class Pilot Certificate, by knowingly and willfully falsifying and

concealing a material fact by asserting that the defendant did not suffer from seizures and

strokes, all in violation of 49 U.S.C. § 46306(b)(4).

                    NOTICE OF INTENT TO SEEK FORFEITURE

       Pursuant to 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c), upon conviction of

any offense charged herein in violation of 18 U.S.C. § 1343, the defendant(s) shall forfeit

to the United States of America any property, real or personal, that constitutes or is derived

from proceeds traceable to the scheme to defraud. The property to be forfeited includes,

but is not limited to, the following:

       ■   A money judgment equal to the value of any property, real or personal,

           constituting or derived from proceeds traceable to the scheme to defraud and not

           available for forfeiture as a result of any act or omission of the defendant for one

           or more ofthereasons listedin21 U.S.C. § 853(p).

       ■   Substitute property as allowed by 28 U.S.C. § 2461(c) and 21 U.S.C. § 853(p).

                                                   A TRUE BILL:

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                                                   FOREPERSON OF GRAND JURY


TRINA A. HIGGINS
UNITED STAT S ATTORNEY


            .ESQUEDA
            T UNITED STATES ATTORNEY


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